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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA



   In re:   Easterling, Mark                    CASE NO 18- 62196

            Debtor                                       CHAPTER: 7




                          MOTION TO QUASH GARNISHMENT

         Comes now your applicant, Mark Easterling, by counsel, pursuant to
   Bankruptcy Code Section 362(a), and respectfully represents:

       1. That your applicant has filed his petition for relief under Chapter 7 of Title 11
          of the United States Code;

       2. That your applicant is subject to a garnishment issued by the General District
          Court of the County of Bedford, 123 E Main St. Bedford, VA 24523;

       3. That said garnishment is in favor of Jormandy, LLC 6363 Center Drive, Bldg
          6, Suite 203, Norfolk, VA 23502, and the last withholding made by your
          applicant’s employer, Stericyle INC., 28161 Keith Drive, Lake Forest, IL
          60045 occurred on October 31, 2018 in the sum of $189.00 and is set to
          continue in an approximately like amount.

       WHEREFORE, your applicant prays that said garnishment be quashed and that he
       have such other and further relief as the nature of his case may require.

       Copies hereof are directed by mail to the debtor, creditor, and debtor’s employer.


                                         Respectfully submitted,

                                         Mark Easterling


                                         /s/ Linda G. Willis
                                        By: Linda G. Willis
                                             Counsel for Debtor
